469 F.2d 1405
    Gulfcoast Transit Companyv.M/S Kyung-Ju***
    No. 72-2509
    United States Court of Appeals, Fifth Circuit
    Dec. 13, 1972
    E.D.La., 343 F.Supp. 867
    
      
        *
         Summary Calendar cases; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 cases:  see N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    